The Industrial Accident Board of the State of Idaho is not a court of general jurisdiction. It is an administrative board the jurisdiction of which is limited, not only by the statute which brought it into existence, but by the constitution which limits the legislature in conferring powers on administrative boards.
Idaho Constitution, Art. II (which has but one section) is as follows:
"The powers of the government of this state are divided into three distinct departments, the legislative, executive and judicial; and no person or collection of persons charged with the exercise of powers properly belonging to one of these departments shall exercise any powers properly belonging to either of the others, except as in this constitution expressly directed or permitted."
There is nothing to be found in the constitution expressly authorizing administrative boards to entertain jurisdiction of, and try actions for, damages arising out of personal injuries.
Article V, sec. 13, has this provision:
"The legislature shall have no power to deprive the judicial department of any power or jurisdiction which rightly pertains to it as a coordinate department of the government; * * *"
Article V, sec. 2, vests the judicial power of the state in the courts, and names them, as follows:
"The judicial power of the state shall be vested in a court for the trial of impeachments, a Supreme Court, district courts, probate courts, courts of justices of the peace, and such other courts inferior to the Supreme Court as may be established by law for any incorporated city or town."
The foregoing constitutional provisions leave no room for a contention that the legislature has power to invest an administrative board with jurisdiction to try actions *Page 436 
for damages arising out of personal injuries. Furthermore, the workmen's compensation law does not attempt to do so. It provides for compensation for two classes of injuries by accident arising out of, and in the course of the employment of workmen, causing partial disability.
Section 43-1113 provides specific indemnities, for members of the body therein specified, regardless of whether the injury results in loss of earning capacity or not. After listing, in detail, the members of the body, loss of which will entitle the workman to indemnity, and fixing the amount, the section provides:
"In all other cases in this class compensation shall bear such relation to the amount stated in the above schedule as the disabilities bear to those produced by the injuries named in the schedule."
The loss of teeth does not appear in the schedule, and the detail with which the loss of members of the body entitling the loser to compensation is stated, convinces me that, had the legislature intended to provide for compensation for loss of teeth, it would have mentioned them as it did arms, legs, fingers and toes and their joints, eyesight and hearing. The section of the statute, applicable to the facts of this case, is 43-1112 relating to partial disability. It contains the following provision:
"Where the injury causes partial disability for work, the employer, during such disability and for a period not exceeding 150 weeks, shall pay the injured workman a weekly compensation equal to fifty-five per cent of the difference between his average weekly wages before the accident and the weekly wages he is able to earn thereafter, * * *"
I am not in accord with the theory that the legislature intended to provide, in the workmen's compensation law, for compensation for pain and suffering, or for disfigurement which does not cause loss of earning capacity. The legislature recognized, and anticipated, that accidents would occur to workmen which would not be compensable pursuant to the act. Chapter 10 entitled, "RIGHTS AND REMEDIES GRANTED AND AFFECTED BY WORKMEN'S COMPENSATION LAW," commences with sec. 43-1001, which is: *Page 437 
"If a workman receives personal injury by accident arising out of and in the course of any employment covered by this act
his employer or the surety shall pay compensation in the amounts and to the person or persons hereinafter specified." (Emphasis added.)
Section 43-1003 contains this provision:
"The rights and remedies herein granted to an employee on account of a personal injury for which he is entitled tocompensation under this act shall exclude all other rights and remedies of such employee, his personal representatives, dependents, or next of kin, at common law or otherwise, on account of such injury." (Emphasis added.)
The legislature never intended that an employee should receive compensation, pursuant to the workmen's compensation law, for an injury, such as that suffered by claimant here, unless it affected his earning capacity, and it limited recovery by those whose earning capacities were diminished by their injuries, to the amounts in the statute specified. The workmen's compensation law does not interfere, in any way, with the right of appellant to recover damages in a court having jurisdiction of such actions, if any are due him, because of injuries suffered due to the negligence of his employer.
The industrial accident board found, from undisputed evidence:
"That the claimant lost no time in his employment on account of said accident and that he continued working for the defendant until the 5th day of October, 1940, when he voluntarily ceased his work and matriculated as a student in the University of Idaho, Southern Branch, specializing in the subject of chemistry and is now a student in said institution."
The board was right in denying compensation, and its order, to that effect, should be affirmed. *Page 438 